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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


RICHARD ARCHAMBEAU,

       Plaintiff,
                                                        Case No. 1:20-cv-744
v.
                                                        HONORABLE PAUL L. MALONEY
COMMISSIONER OF SOCIAL SECURITY,

      Defendant.
_____________________________________/


                                        JUDGMENT

      In accordance with the Order entered this date:

      IT IS HEREBY ORDERED that the decision of the Commissioner of Social Security is

AFFIRMED.




Dated: December 3, 2021                                    /s/ Paul L. Maloney
                                                          Paul L. Maloney
                                                          United States District Judge
